
PER CURIAM.
Juan Sanchez appeals the summary denial of his motion for postconviction relief filed under Florida Rule of Criminal Procedure 3.850. The postconviction court ruled that the motion was untimely, and we agree. See Barrios-Cruz v. State, 63 So.3d 868 (Fla. 2d DCA 2011). As we did in Barrios-Cruz, we hold that Padilla v. Kentucky, — U.S.-, 130 S.Ct. 1473, 176 L.Ed.2d 284 (2010), does not apply retroactively in postconviction proceedings, and we certify the following question of great public importance:
SHOULD THE RULING IN Padilla v. Kentucky, — U.S.-, 130 S.Ct. 1473, 176 L.Ed.2d 284 (2010), BE APPLIED RETROACTIVELY IN POSTCONVICTION PROCEEDINGS?
Affirmed.
NORTHCUTT, KHOUZAM, and BLACK, JJ., Concur.
